              Case 3:18-cv-05276-RSL Document 144 Filed 07/06/21 Page 1 of 5




 1
                                                                      The Honorable Robert S. Lasnik
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 5                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 6                                       AT SEATTLE
 7
     CHERYL KATER and SUZIE KELLY,                        No. 15-cv-00612-RSL
 8   individually and on behalf of all others similarly
     situated,                                            SETTLEMENT ADMINISTRATORS’
 9                                                        UNOPPOSED MOTION AND
                                                          [PROPOSED] ORDER FOR
10                          Plaintiffs,                   APPROVAL OF DISTRIBUTION PLAN
11          v.
                                                          Noting Date: July 6, 2021
12
     CHURCHILL DOWNS INCORPORATED, a
13   Kentucky corporation, and BIG FISH GAMES,
     INC., a Washington corporation.
14

15                          Defendants.

16   MANASA THIMMEGOWDA, individually and                 No. 19-cv-00199-RSL
     on behalf of all others similarly situated,
17                                                        SETTLEMENT ADMINISTRATORS’
                                                          UNOPPOSED MOTION AND
18                          Plaintiffs,                   [PROPOSED] ORDER FOR
                                                          APPROVAL OF DISTRIBUTION PLAN
19          v.
20                                                        Noting Date: July 6, 2021
     BIG FISH GAMES, INC., a Washington
21   corporation; ARISTOCRAT TECHNOLOGIES
22   INC., a Nevada corporation; ARISTOCRAT
     LEISURE LIMITED, an Australian corporation;
23   and CHURCHILL DOWNS INCORPORATED,
24   a Kentucky corporation,

25                          Defendants.
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      Administrators’ Unopposed Motion
      CASE NOS. 15-CV-612, 19-CV-199,
      18-CV-5276, & 18-CV-5277 - i
              Case 3:18-cv-05276-RSL Document 144 Filed 07/06/21 Page 2 of 5




 1
     SEAN WILSON, individually and on behalf of   No. 18-cv-5277-RSL
 2
     all others similarly situated,
 3                                                SETTLEMENT ADMINISTRATORS’
                            Plaintiff,            UNOPPOSED MOTION AND
 4                                                [PROPOSED] ORDER FOR
                                                  APPROVAL OF DISTRIBUTION PLAN
 5          v.

     PLAYTIKA LTD, an Israeli limited company,    Noting Date: July 6, 2021
 6
     and CAESARS INTERACTIVE
 7
     ENTERTAINMENT, LLC, a Delaware limited
 8   liability company,
                        Defendants.
 9
                                                  No. 18-cv-05276-RSL
10   SEAN WILSON, individually and on behalf of
11   all others similarly situated,               SETTLEMENT ADMINISTRATORS’
                                                  UNOPPOSED MOTION AND
12                                                [PROPOSED] ORDER FOR
                            Plaintiff,            APPROVAL OF DISTRIBUTION PLAN
13
            v.
14                                                Noting Date: July 6, 2021
15   HUUUGE, INC., a Delaware corporation,

16                          Defendant.
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      Administrators’ Unopposed Motion
      CASE NOS. 15-CV-612, 19-CV-199,
      18-CV-5276, & 18-CV-5277 - ii
                 Case 3:18-cv-05276-RSL Document 144 Filed 07/06/21 Page 3 of 5



                             SETTLEMENT ADMINISTRATORS’
 1                UNOPPOSED MOTION FOR APPROVAL OF DISTRIBUTION PLAN
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               On April 22, 2021, the Court granted the Settlement Administrators’ unopposed motion to
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     continue the deadline for payment of approved claims by sixty days. The Settlement
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     Administrators have diligently used that time, and are now ready—subject to Court approval—to
 5
     begin implementing a Distribution Plan. The Settlement Administrators jointly propose, and no
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     Party opposes, a Distribution Plan as follow:
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 8          1. On or about July 12, 2021, the Settlement Administrators will make Initial Payments to
               all claimants with qualifying claims. The Initial Payments are intended to equal
 9             approximately eighty percent of the claimants’ total approved recoveries, with the
               remaining 20% (the “Reserve Fund”) to be distributed via supplemental distribution(s)—
10             after completion of the challenges process—as described below.
11          2. By September 6, 2021, the Settlement Administrators shall provide their final
               recommendations to Judge Phillips (Fmr.) as to all class member challenges submitted
12             pursuant to the previously-Court-approved process for Final Claims Determinations.
               Based on challenges reviewed by the Administrators to date, the Settlement
13             Administrators anticipate making recommendations—subject to Judge Phillips’ final and
               nonbinding authority—on at least the following categories of challenges:
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                    a.   Challenges based on supplemental friend codes provided by claimants.
15                  b.   Challenges based on supplemental email addresses provided by claimants.
                    c.   Challenges based on DRP v. Non-DRP Status.1
16                  d.   Challenges based on Lifetime Spending Amounts supported by documentation.
                    e.   Challenges based on Lifetime Spending Amounts not supported by documentation.
17                  f.   Challenges based on erroneous Lifetime Spending Amounts previously
                         communicated by a Settlement Administrator to claimants.2
18
            3. By October 4, 2021, Judge Phillips shall make all Final Claims Determinations.
19
            4. As promptly thereafter as practicable, and no later than 30 days thereafter, the Claims
20             Administrators shall make a supplemental distribution to all claimants, taking into account
               any approved challenges, such that the Reserve Fund is fully allocated. However, to the
21             extent a Supplemental Distribution to a claimant would equal less than five dollars, that
               Supplemental Distribution shall not be paid, and instead the amount shall be distributed
22             pro rata to claimants whose Supplemental Distribution exceeds five dollars.
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               These challenges apply to the settlements in Kater (No. 15-cv-612), Thimmegowda (No. 19-cv-199), and
25   Wilson v. Huuuge (No. 18-cv-5276). They do not apply to the settlement in Wilson v. Playtika. (No. 18-cv-5277).
     2
               A limited number of such challenges have been received by Angeion Group, and approval of all such
26   challenges would have a de minimis (i.e., approximately one quarter of one percent) impact on claimant recoveries.
     Class counsel support approval of these challenges, and Angeion Group anticipates recommending that Judge
27   Phillips approve each such challenge.
         Administrators’ Unopposed Motion
         CASE NOS. 15-CV-612, 19-CV-199,
         18-CV-5276, & 18-CV-5277 - 1
              Case 3:18-cv-05276-RSL Document 144 Filed 07/06/21 Page 4 of 5




 1       5. Pursuant to Section 2.1 of the Settlement Agreements, to the extent that any Initial
            Payments or Supplemental Payments are not cashed/processed by claimants, such amounts
 2          shall remain in the Net Settlement Fund and shall be apportioned pro rata to participating
            Settlement Class Members in an Additional Distribution, if practicable, with a final
 3          payment to be made to a cy pres recipient in the event that an Additional Distribution is
            impracticable or additional funds remain in the Net Settlement Fund after the Additional
 4          Distribution.
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                                *                     *                      *
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            This proposed Distribution Plan is fair, equitable, and faithfully effectuates the
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     Settlement Agreements in these cases. Consequently, the Settlement Administrators jointly
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     request—and no Party opposes—that the Court grant this motion and enter the attached
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     [Proposed] Order.
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     Dated: July 2, 2021            Respectfully submitted,
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14
                                                  ANGEION GROUP
15                                                By:Steven Platt
                                                  Steven R. Platt
16
                                                  Angeion Goup, LLC
17                                                1650 Arch Street, Suite 2210
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                                                  KROLL SETTLEMENT ADMINISTRATION
21                                                By:
                                                  Scott Fenwick
22                                                Kroll Settlement Administration
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                                                  Philadelphia, PA 19102
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      Administrators’ Unopposed Motion
      CASE NOS. 15-CV-612, 19-CV-199,
      18-CV-5276, & 18-CV-5277 - 2
             Case 3:18-cv-05276-RSL Document 144 Filed 07/06/21 Page 5 of 5




 1                                      [PROPOSED] ORDER

 2     The Settlement Administrator’s unopposed motion is GRANTED. The Distribution Plan

 3   is approved. IT IS SO ORDERED.

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 5         DATED this _____ day of ___________, 2021.

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                                             ___________________________________
 8                                           ROBERT S. LASNIK
 9                                           UNITED STATES DISTRICT JUDGE

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     Administrators’ Unopposed Motion
     CASE NOS. 15-CV-612, 19-CV-199,
     18-CV-5276, & 18-CV-5277 - 1
